Case 0:18-cv-60059-WJZ Document 30 Entered on FLSD Docket 06/29/2018 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 18-60059

  FELIPE JIMENEZ TOLEDO, and all others )
                                        )
  similarly situated under 29 U.S.C. 216(b),
                                        )
                    Plaintiffs,         )
          vs.                           )
                                        )
  AUTHENTIC HOSPITALITY GROUP INC., )
                                        )
  d/b/a I LOVE TACOS RESTAURANT,        )
  MONICA ANGULO,                        )
                 Defendants.            )
  _____________________________________ )

                            NOTICE OF MEDIATOR SELECTION

         COMES NOW the Plaintiff, by and through the undersigned counsel, and Notices the

  Court of the Parties selection of Eunice T. Baros, Esq., as the mediator in this matter with

  mediation to take place on March 26, 2019, commencing at 10:00 a.m. at 11380 Prosperity

  Farms Road Suite 204, Palm Beach Gardens, FL 33410.

         This notice is being filed based upon an agreement by all counsel and confirmation of

  mediator, Eunice T. Baros, Esq.



                            NATALIE STAROSCHAK, ESQ.
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                    BY:_______/s/ Natalie Staroschak__________________
                             NATALIE STAROSCHAK, ESQ.



                                               1
Case 0:18-cv-60059-WJZ Document 30 Entered on FLSD Docket 06/29/2018 Page 2 of 2



                           CERTIFICATE OF SERVICE

   I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING
                   WAS SENT VIA CM/ECF ON 6/29/18 TO:

                           ALL CM/ECF RECIPIENTS

                        CHARLES MERRILL EISS, ESQ.
                        ATTORNEY FOR DEFENDANTS
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                   BY:___/s/___Natalie Staroschak______________
                         NATALIE STAROSCHAK, ESQ.




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